                 Case 3:16-cv-00119-TCB Document 58 Filed 05/17/18 Page 1 of 2
                      Case: 17-14299 Date Filed: 05/17/2018 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                        For rules and forms visit
Clerk of Court                                                                        www.ca11.uscourts.gov


                                            May 17, 2018

James N. Hatten
U.S. District Court
18 GREENVILLE ST
NEWNAN, GA 30264

Appeal Number: 17-14299-JJ
Case Style: William Downing v. Fidelity National Title Insura, et al
District Court Docket No: 3:16-cv-00119-TCB

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                        MDT-1 Letter Issuing Mandate
          Case 3:16-cv-00119-TCB Document 58 Filed 05/17/18 Page 2 of 2
               Case: 17-14299 Date Filed: 05/17/2018 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                                For the Eleventh Circuit
                                    ______________

                                          No. 17-14299
                                         ______________

                                    District Court Docket No.
                                      3:16-cv-00119-TCB

WILLIAM D. DOWNING,
on Behalf of Himself and All Others Similarly Situated,

                                                   Plaintiff - Appellant,

versus

FIDELITY NATIONAL TITLE INSURANCE COMPANY,
CHICAGO TITLE INSURANCE COMPANY,
COMMONWEALTH LAND TITLE INSURANCE COMPANY,
FIRST AMERICAN TITLE INSURANCE COMPANY,
OLD REPUBLIC NATIONAL TITLE INSURANCE COMPANY,
STEWART TITLE GUARANTY COMPANY,

                                             Defendants - Appellees.
                       __________________________________________

                       Appeal from the United States District Court for the
                                  Northern District of Georgia
                       __________________________________________

                                           JUDGMENT

It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
entered as the judgment of this Court.

                                    Entered: April 12, 2018
                        For the Court: DAVID J. SMITH, Clerk of Court
                                       By: Djuanna Clark




ISSUED AS MANDATE 05/17/2018
